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 1                                                                                   Hon. James L. Robart

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 5                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 6                                            AT SEATTLE

 7    AUBRY MCMAHON,                                        Case No.: 2:21-cv-00920-JLR

 8                     Plaintiff,                           PLAINTIFF’S REPLY IN SUPPORT OF
                                                            MOTION FOR RECONSIDERATION
 9            v.                                            AND TO ALTER JUDGMENT

10    WORLD VISION, INC.,                                   NOTE DATE: July 14, 2023

11                     Defendant.

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             Defendant fails to rebut the main thrust of Plaintiff’s Motion for Reconsideration: that the
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      Court manifestly erred by holding the Church Autonomy Doctrine bars the Title VII and WLAD
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      claims of a non-minister terminated pursuant to a facially discriminatory hiring policy. Plaintiff’s
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      Motion does not raise new arguments. She’s argued all along this case involves facial
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      discrimination and in that context the Church Autonomy Doctrine does not provide religious
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      employers with greater immunity than the ministerial exception. Dkt. No. 24 at 24-25; Dkt. No.
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      30 at 6-8, 20-21; Dkt. No. 33 at 1-3, 10. Nor does Plaintiff’s Motion raise new authorities regarding
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      the Church Autonomy Doctrine. Rather, her Motion shows the Court committed clear error by
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      misapplying the authorities in Defendant’s summary judgment papers and not getting “the law
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      right.” Meritage House of NV, Inc. v. FDIC, 753 F.3d 819, 825 (9th Cir. 2014).
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     PLAINTIFF’S REPLY IN SUPPORT OF                                                 FRANK FREED
     MOTION FOR RECONSIDERATION - 1                                            SUBIT & THOMAS LLP
                                                                     Suite 1200 Hoge Building, 705 Second Avenue
     2:21-CV-00920-JLR                                                      Seattle, Washington 98104-1798
                                                                                     (206) 682-6711
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 1            Defendant devotes much of its Response to arguing that Opara v. Yellen, 57 F. 4th 709 (9th

 2    Cir. 2023), supports this Court’s erroneous application of the McDonnell Douglas shifting burdens

 3    framework to a case involving a facially discriminatory employment policy. Opara involved the

 4    typical situation where the plaintiff claims the employer’s articulated reasons for its adverse action

 5    are unworthy of belief and a pretext for a discriminatory motive. 57 F. 4th at 721-29. Neither Opara

 6    nor any other Ninth Circuit case tells district courts to apply the McDonnell Douglas shifting

 7    burdens framework to cases involving facially discriminatory employment policies.1

 8            Defendant’s dismissal of Frank v. United Airlines, Inc., 216 F.3d 845 (9th Cir. 2000), as “a

 9    relic of past antidiscrimination law,” Dkt. No. 42 at n.1, is unavailing. Frank is controlling Ninth

10    Circuit precedent. Frank makes clear that where, as here, the plaintiff alleges she was subject to

11    an adverse action based upon a facially discriminatory employment policy, it makes no sense to

12    ask whether she has proven pretext. 216 F.3d at 854 (citing Healey v. Southwood Psychiatric

13    Hosp., 78 F.3d 128, 131-32 (3d Cir. 1996)). “[A]n explicit gender-based policy is sex

14    discrimination….” Int’l Union, United Auto., Aerospace & Agr. Implement Workers of Am., UAW,

15    v. Johnson Controls, Inc., 499 U.S. 187, 200 (1991). An employment policy is explicitly gender-

16    based where it requires the “treatment of a person in a manner which but for that person’s sex

17    would be different.” Id. (internal quotation omitted); Bostock v. Clayton Cty., GA, 140 S. Ct. 1731,

18    1741 (2020) (“if changing the employee’s sex would have yielded a different choice by the

19    employer—a statutory violation has occurred”). Under Bostock, Johnson Controls, and Frank, the

20    hiring policy that resulted in Plaintiff’s termination constitutes a facially discriminatory policy. It

21    is undisputed that if Plaintiff had been a man married to a woman, she would not have been

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      1   Defendant confuses direct evidence and facially discriminatory employment policies. Dkt. No. 42 at 3. Direct
23    evidence is “conduct or statements by persons involved in the decision-making process that may be viewed as directly
      reflecting the alleged discriminatory attitude.” Opara, 57 F. 4th at 723 (internal punctuation omitted).
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                                                                               Suite 1200 Hoge Building, 705 Second Avenue
     2:21-CV-00920-JLR                                                                Seattle, Washington 98104-1798
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 1    disqualified from employment with Defendant.2 Therefore, this Court disregarded controlling law

 2    by utilizing the burden shifting framework set forth in Opara applicable to pretext cases.

 3            As Defendant’s Response recognizes, the Court’s analysis of this action as a pretext case

 4    was the lynchpin for its holding that the Church Autonomy Doctrine applies here. Dkt. No. 42 at

 5    5. The Court substantially relied on Butler v. St. Stanislaus Kostka Catholic Acad., 609 F. Supp.

 6    3d 184 (E.D.N.Y. 2022). Dkt. No. 38 at 21-22. The only reason Butler applied the Church

 7    Autonomy Doctrine was because Butler invoked McDonnell Douglas and argued his religious

 8    employer’s asserted grounds for his termination were a pretext for unlawful discrimination. 609 F.

 9    Supp. 3d at 198, 200. Butler disputed the truth of his employer’s claim that he was terminated

10    because he had announced his intention to enter a same-sex marriage and asserted he was fired

11    simply because he was gay, in violation of the employer’s own policies. Id. at 202. Butler correctly

12    holds that even with respect to non-ministerial employees, “the church-autonomy principle

13    prevents inquiries into the good faith of the position asserted by the” religious employer. Id. at 201

14    n.17 (emphasis supplied; internal punctuation omitted).

15            None of the reasons Butler applied the Church Autonomy Doctrine exist here. Plaintiff has

16    never claimed that Defendant terminated her employment simply because she is gay. She has never

17    contested the good faith of Defendant’s religious opposition to same-sex marriage. She has never

18    argued Defendant’s contention that it revoked her job offer because it learned she was in a same-

19    sex marriage is pretextual. What she has asserted all along is that Defendant’s prohibition on hiring

20    employees who are in (or having sexual relations within) non-heterosexual marriages is facially

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       Defendant’s assertion that its hiring policy is conduct-based doesn’t make the policy any less discriminatory. See
23    McDonald v. Santa Fe Trail Transp. Co., 427 U.S. 273, 283-84 (1976) (employer who terminates White workers but
      not Black workers for violating its policy against theft violates Title VII).
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 1    unlawful discrimination—an argument the plaintiff never made in Butler. This Court manifestly

 2    erred by analyzing this as a pretext case like Butler and invoking the Church Autonomy Doctrine.

 3            Defendant’s attempt to bolster this Court’s Order by relying on 303 Creative LLC v. Elenis,

 4    143 S. Ct. ---, 2023 WL 4277208 (June 30, 2023), is unpersuasive. The issue in 303 Creative LLC

 5    was whether a state could use “its [antidiscrimination] law to compel an individual to create speech

 6    she does not believe.” Id. at *4. The Court held that doing so violated the First Amendment. 303

 7    Creative LLC did not involve employment discrimination and Plaintiff’s case does not involve

 8    compelled speech. The First Amendment does not prohibit application of fair employment laws to

 9    prohibit hiring practices that facially discriminate based on protected categories. Pittsburgh Press

10    Co. v. Pittsburgh Commission on Human Relations, 413 U.S. 376, 387-91 (1973).

11            While everyone agrees the First Amendment trumps a conflicting statute, nothing in 303

12    Creative LLC gives employers license to violate state and federal employment discrimination laws

13    for religious reasons. There is no legal difference between Defendant’s facially discriminatory

14    hiring policy and one prohibiting the employment of anyone who engages in sexual conduct

15    outside a marriage between persons of the same race. See Loving v. Virginia, 388 U.S. 1, 3 (1967)

16    (quoting religious justification for anti-miscegenation laws). Freedom of Religion does not mean

17    Freedom to Discriminate. 303 Creative LLC at *16 (Sotomayor, J., dissenting). This Court

18    manifestly erred by holding the Church Autonomy Doctrine immunizes Defendant’s actions in

19    this case.

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                                                                     Suite 1200 Hoge Building, 705 Second Avenue
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 1          RESPECTFULLY SUBMITTED this 12th day of July 2023.

 2                                     FRANK FREED SUBIT & THOMAS LLP

 3                                          By: /s/ Michael C. Subit
                                            Michael C. Subit, WSBA No. 29189
 4                                          705 Second Avenue, Suite 1200
                                            Seattle, Washington 98104
 5                                          Phone: (206) 682-6711
                                            Fax: (206) 682-0401
 6                                          Email: msubit@frankfreed.com

 7                                          I certify that this memorandum contains 1,091 words
                                            in compliance with the Court’s Order of June 27,
 8                                          2023 (Dkt 41)

 9                                     NISAR LAW GROUP, P.C.

10                                          By: /s/ Casimir Wolnowski
                                            Casimir Wolnowski
11                                          One Grand Central Place
                                            60 East 42nd Street, Suite 4600
12                                          New York, New York 10165
                                            Phone: (646) 889-1007
13                                          Fax: (516) 604-0157
                                            Email : cwolnowski@nisarlaw.com
14                                          Admitted Pro Hac Vice

15                                          Attorneys for Plaintiff

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